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                       THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

1789 FOUNDATION, INC. d/b/a
CITIZEN AG, et al.,

              Plaintiffs,
                                              3:24-CV-1865
              V.                           : (JUDGE MARIANI)

AL SCHMIDT, in his official capacity
as Secretary of State, et al.,

              Defendants.

AFT PENNSYLVANIA, and the
PENNSYLVANIA ALLIANCE FOR
RETIRED AMERICANS,

              Intervenor-Defendants.

                                          ORDER

       The background of this Order is as follows:

       On May 2, 2025, the Court granted Defendant and Intervenor-Defendants' motions

to dismiss. (Doc. 68). In that Order, the Court granted Plaintiffs leave to amend their

complaint within twenty-one (21) days of the date of the Order - i.e. until May 23, 2025.

(Id.). The date for the filing of the amended complaint has passed, and Plaintiffs have not

filed an amended complaint or sought an extension of time to file an amended complaint.

       On May 27, 2025, the Court issued an Order directing Plaintiffs to show cause why

the above-captioned action should not be dismissed pursuant to Fed. R. Civ. P. 41 (b) for

failure to prosecute. (Doc. 71 ). Plaintiffs did not respond to the Court's show cause Order
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and the time to respond has now passed. The Court will give Plaintiffs one final opportunity

to respond and show cause why this action should not be dismissed for failure to prosecute

and to comply with the Court's Orders .

        ACCORDINGLY, THls'~               AY OF JUNE 2025, IT IS HEREBY ORDERED

THAT:

        1. On or before Monday June 9, 2025, at 5:00 pm, Plaintiffs shall SHOW CAUSE

        why the above-captioned action should not be dismissed pursuant to Fed. R. Civ. P.

        41 (b) for failure to prosecute and to comply with the Court's Orders.

        2. Failure to respond to this Order will result in dismissal of the above-captioned

        action with prejudice.




                                                    United States District Judge




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